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                      UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OKLAHOMA

 United States of America,
                  Plaintiff,

 vs.                                                      Case No. 12-cr-050-JHP

 Kenneth Lee Hopkins,
               Defendant.

                                     OPINION AND ORDER

        Before the Court is the Motion for Detention of the United States of America (the

 “Government”). Pursuant to 18 U.S.C. § 3142, a detention hearing was held on July 17, 2012. At the

 hearing, the Government called no witnesses, relying solely on the face of the Indictment and the

 Pretrial Services Report (which was admitted without objection). Defendant called three witnesses:

 his grandmother, his aunt, and his supervisor at work.

        Pursuant to 18 U.S.C. § 3142, the Court must order an accused's pretrial release, with or

 without conditions, unless it “finds that no condition or combination of conditions will reasonably

 assure the appearance of the person as required and the safety of any other person and the

 community.” In making this determination, the Court must take into account the available

 information concerning:

        (1) The nature and circumstances of the offense charged, including whether the
        offense is a crime of violence ... or involves a minor victim or a controlled substance,
        firearm, explosive, or destructive device;

        (2) the weight of the evidence against the person;

        (3) the history and characteristics of the person, including-

                (A) the person's character, physical and mental condition, family ties,
                employment, financial resources, length of residence in the
                community, community ties, past conduct, history relating to drug or
                alcohol abuse, criminal history, and record concerning appearance at
                court proceedings; and
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                (B) whether, at the time of the current offense or arrest, the person was on
                probation, on parole, or on other release pending trial, sentencing, appeal, or
                completion of sentence for an offense under Federal, State, or local law; and

        (4) the nature and seriousness of the danger to any person or the community that
        would be posed by the person's release.

 18 U.S.C. § 3142(g).

        Both parties agree that there is a rebuttable presumption that there is no set of conditions

 which will reasonably assure the appearance of defendant or the safety of the community. 18 U.S.C.

 § 3142. Thus, the burden is initially on the defendant. If the defendant is able to rebut this

 presumption, the burden shifts to the government to prove, by a preponderance of the evidence, that

 no set of conditions will reasonably assure the appearance of defendant as required in this matter,

 see 18 U.S.C. § 3142(f), or, alternatively, by clear and convincing evidence, that no set of conditions

 will reasonably assure the safety of any other person or the community. Id.

        For the reasons set forth below, the undersigned orders, by the narrowest of margins, that

 defendant be detained pending trial for the reason that there is currently no set of conditions which

 will reasonably assure the appearance of defendant as required in this matter.

                           Written Statement of Reasons for Detention

        Defendant is charged in three counts of a ten count Superseding Indictment. The charges

 against defendant include one count of Conspiracy to Obstruct, Delay and Affect Commerce by

 Robbery, and two counts of Obstruct, Delay and Affect Commerce by Robbery. (Dkt. #96). Count

 One alleges that as early as August 26, 2009 until July 11, 2012, defendant conspired “to obstruct,

 delay and affect interstate commerce, and the movement of articles and commodities in commerce

 by robbery.” Id. at 2. The Superseding Indictment alleges that defendant is a member of the Hoover

 Crips street gang, that it was a part of the alleged conspiracy to commit robberies of pharmacies,

 banks, and credit unions with firearms and cell phones, and that the conspiracy involved the use of

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 force. Id. As to defendant, the Superseding Indictment specifically alleges that he was directly

 involved in the armed robbery of Dooley Pharmacy on February 13, 2010. Otherwise, the

 Superseding Indictment does not specifically identify defendant as engaging in any criminal activity,

 although defendant is generically identified as a group of “defendants” that allegedly “caused shots

 to be fired into a house.” Id. At 7.

         The Pretrial Services Report details defendant’s criminal history as follows:

         1.      Charged with trespassing in 2006. The charge was dismissed.

         2.      Plead guilty to Second Degree Burglary in 2008.

         3.      Charged with Robbery with a Firearm and Knowingly Receiving/Concealing Stolen

                 Property in 2010. The charges were dismissed.

         4.      Plead guilty to Unlawful Possession of Controlled Drug in 2010.

 In addition, defendant has three times failed to appear as required in the proceedings identified

 above, once on February 2, 2008, once on February 18, 2009, and once on October 12, 2010.

         Defendant’s grandmother, Celestial Hopkins, testified that she has lived in Tulsa for over

 twenty years, that she recently moved into a new home but that she continues to own her prior home,

 where she lived for twenty years. She works at Kendall-Whittier Elementary School as the Assistant

 Cafeteria Manager. She has never been charged with a crime. Defendant lived with his grandmother

 from approximately September, 2011 through December, 2011. She testified that defendant could

 live with her, that she would make sure he attended any future court appearances, and that she would

 be willing to contact the Probation Office if defendant did not abide by the terms of his release. She

 also testified that she was aware of some of defendant’s criminal history, but not all of it. Her

 working hours are 6 am until 2:30 p.m., so she would not be able to supervise defendant during this

 period of time. On cross examination, counsel for the government asked Ms. Hopkins if she knew


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 defendant was the primary suspect in the murder of his former girlfriend. Ms. Hopkins testified that

 she was only aware he had been questioned.1

         Defendant’s aunt, Cheryl Hopkins, testified that defendant previously lived with her, except

 when he was living with his grandmother, and that she was primarily responsible for raising him.

 She is aware that defendant has had multiple contacts with the police. She is employed by Rogers

 Preparatory School. She is aware that defendant has been working near the Hard Rock Casino in the

 Tulsa area. She also testified that she could make sure defendant was at his court appearances and

 that she has a car.

         Defendant’s supervisor at his employment, James Inscoe, testified that he is the Powder Coat

 Manager at a business in Catoosa. He has known defendant for 8-9 months as a result of defendant’s

 employment. Defendant does a little bit of everything as an employee. He started working from 7

 a.m. to 4 p.m. each day and then moved to 4 a.m. to Noon. He has never had any problems with

 defendant, and defendant could return to work at any time. Defendant would also be allowed to leave

 work to attend court proceedings.

         Defendant’s counsel proffered that in 2010, defendant was charged on very similar charges

 in a state court proceeding but that he was not identified in a line up and the charges were dismissed.

 A. Nature and Circumstances of the Offense

         The nature and circumstances of the offenses are set forth above. The Government presented

 no evidence of the nature and circumstances of the offence, relying instead on the Superseding

 Indictment. This factor weighs in favor of release.




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         The Court gives little weight to this exchange, since the Government declined to present
 any evidence that would allow the Court evaluate the validity of this allegation.

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 B. Weight of the Evidence

         The government’s evidence, as presented at the hearing, is extremely weak, since the

 Government relied solely on the presumption and the Superseding Indictment. This factor weighs

 in favor of release.

 C. History and Characteristics of Defendant and Flight Risk

         Defendant has been in Tulsa all of his life, and has a serious criminal history, although not

 one that would preclude release. In addition, the testimony of defendant’s witnesses evidences an

 individual who could be successfully supervised. However, defendant made no effort to explain why

 he has three times in the fairly recent past failed to appear as required for a court proceeding. In

 addition, defendant did not present sufficient evidence regarding the specific manner in which he

 would account for his whereabouts, other than electronic monitoring. Ordinarily, the lack of such

 evidence would not be fatal to an effort to obtain release, but in light of defendant’s three prior

 failures to appear for court proceedings and an absence of any explanation for these failures, this lack

 of evidence is important. Thus, defendant’s history and characteristics currently weigh in favor of

 detention only on the issue of flight risk. More specifically, defendant successfully rebutted the

 presumption, but the government presented evidence, in the form of the Pretrial Service Report, that

 establishes (again, by the narrowest of margins) that no set of conditions can ensure defendant’s

 appearance.

 D. Danger To The Community

         The facts set forth above establish that defendant rebutted the presumption and the

 Government did not meet its burden of proof on this issue.

         Defendant may file an additional motion within thirty (30) days to re-open the detention

 hearing if he is able to present evidence that explains his prior failures to appear or that explains how


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 such failures would not occur in this case were he to be released. The Court notes the Government’s

 objection to such a motion and hereby overrules that objection. The Court notes that it considered,

 at the close of the hearing, whether to continue the hearing to a future date for consideration of

 further evidence and chose, instead, to conditionally grant the Motion for Detention pending a

 request by defendant to present additional evidence. If the detention hearing is reopened, the

 government may introduce additional evidence as well.

          Based on the foregoing, the Government’s Motion for Detention is conditionally granted as

 set forth above.

                                        Directions Regarding Detention

          Defendant is committed to the custody of the Attorney General or his designated

 representative for confinement in a corrections facility separate, to the extent practicable, from

 persons awaiting or serving sentences or being held in custody pending appeal. Defendant shall be

 afforded a reasonable opportunity for private consultation with defense counsel. On order of a court

 of the United States, or on request of an attorney for the Government, the person in charge of the

 corrections facility shall deliver defendant to the United States Marshal to appear in connection with

 a court proceeding.




 Order of Detention Pending Revocation Hearing      -- 6 --                        AO-471 Modified (3/06)
